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   8                          IN THE UNITED STATES DISTRICT COURT
   9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
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  11   SKOT HECKMAN, Luis Ponce, Jeanene                Case No.: 22-cv-00047-GW-GJS
       Popp, and Jacob Roberts, on behalf of
  12   themselves and all those similarly situated,     The Honorable George H. Wu
  13                          Plaintiffs,
                                                        [PROPOSED] ORDER ON NONPARTY NEW
  14          vs.                                       ERA ADR, INC.’S MOTION TO QUASH
                                                        PORTIONS OF PLAINTIFFS’ SUBPOENAS
  15   LIVE NATION ENTERTAINMENT, INC.
       and TICKETMASTER LLC,                            Hearing Date: November 7, 2022
  16                                                    Hearing Time: 8:30 a.m.
                              Defendants.               Courtroom:    9D, 9th Floor
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                                                                                      Case No.: 22-cv-00047-GW-GJS

                          [PROPOSED] ORDER ON NONPARTY NEW ERA ADR, INC.'S MOTION TO QUASH
                                          PORTIONS OF PLAINTIFFS' SUBPOENAS
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   1         Nonparty New Era ADR, Inc.’s (“New Era”) Motion to Quash Portions of
   2   Subpoenas Issued by Plaintiffs Skot Heckman, Luis Ponce, Jeanene Popp, and
   3   Jacob Roberts (together, “Plaintiffs”) was heard on November 7, 2022. Having
   4   considered the papers submitted and arguments of counsel, and all other matters
   5   presented to the Court, and good cause appearing therefrom,
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   7         IT IS HEREBY ORDERED THAT:
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          1. Nonparty New Era’s Motion to Quash Portions of Plaintiffs’ Subpoena is
             GRANTED; and in particular
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          2. Requests for Production No. 6, 7, 10, and 13 of the Subpoena Duces Tecum
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             (“Document Subpoena”) issued to New Era by Plaintiffs are quashed in their
  12         entirety; and
  13      3. Request for Production No. 8 of the Document Subpoena is quashed insofar
  14         as it seeks New Era’s subscription agreements with customers other than
             Defendants; and
  15
          4. Topics No. 6, 7, and 10 of the Subpoena to Testify at a Deposition
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             (“Deposition Subpoena”) issued to New Era by Plaintiffs are quashed in their
  17         entirety; and
  18      5. Topic No. 8 of the Deposition Subpoena is quashed insofar as it seeks
  19         information regarding New Era’s subscription agreements with customers
             other than Defendants.
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       IT IS SO ORDERED.
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       Date: __________________
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                                                      Hon. George H. Wu
  24                                                  United States District Judge
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                      [PROPOSED] ORDER ON NONPARTY NEW ERA ADR, INC.'S MOTION TO QUASH
                                      PORTIONS OF PLAINTIFFS' SUBPOENAS
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                     [PROPOSED] ORDER ON NONPARTY NEW ERA ADR, INC.'S MOTION TO QUASH
                                     PORTIONS OF PLAINTIFFS' SUBPOENAS
